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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,                         CR. NO. 06-00143 JMS (01)

                         Plaintiff,                  ORDER GRANTING
                                                     DEFENDANT’S MOTION FOR
            vs.                                      COMPASSIONATE RELEASE, ECF
                                                     NO. 154

  HENRY KAPONONUIAHOPILI LII,

                         Defendant.


                  ORDER GRANTING DEFENDANT’S MOTION FOR
                    COMPASSIONATE RELEASE, ECF NO. 154

                                      I. INTRODUCTION

                  In 2006, Defendant Henry Kapononuiahopili Lii (“Defendant”) pled

 guilty to three methamphetamine-related offenses that involved a total of 104.6

 grams of actual methamphetamine. Based on two prior state court convictions for

 minor drug offenses, Defendant was sentenced to a mandatory minimum sentence

 of life in prison.1

                  Defendant now moves, pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), for

 compassionate release from United States Penitentiary Atwater (“USP Atwater”).


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          Specifically, Defendant was sentenced to life as to Counts 1 and 2 of the Indictment
 and 120 months as to Count 3 of the Indictment, with all terms to run concurrently. ECF No. 78
 at PageID # 215.
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 ECF No. 154. He argues that compassionate release is warranted because (1) his

 life sentence is grossly disproportionate relative to the fifteen-year mandatory

 minimum that now applies in light of the First Step Act’s sentencing reforms; and

 (2) pre-existing medical conditions place him at increased risk of serious illness or

 death should he contract COVID-19. Id. The court agrees that the enormous

 sentencing disparity justifies compassionate release and thus ORDERS that

 Defendant’s sentence be reduced to time served with supervised release to follow.

                                II. BACKGROUND

              On August 24, 2006, Defendant pled guilty to a three-count

 indictment charging him with: (1) conspiring to distribute and possess with intent

 to distribute 50 grams or more of methamphetamine in violation of 21 U.S.C.

 §§ 846, 841(a)(l), and 841(b)(l)(A); (2) distributing 50 grams or more of

 methamphetamine in violation of 21 U.S.C. §§ 841(a)(l) and 841(b)(l)(A); and

 (3) possessing with intent to distribute 5 grams or more of methamphetamine in

 violation of 21 U.S.C. §§ 841(a)(l) and 841(b)(l)(B). ECF No. 39; ECF No. 78 at

 PageID # 214. These charges were based on the distribution of 77.4 grams of

 actual methamphetamine and the possession of 27.2 grams of actual

 methamphetamine with the intent to distribute. See PSR ¶¶ 12-13, ECF No. 73 at

 PageID # 1048. Thus, for the purpose of sentencing, Defendant was deemed




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 responsible for 104.6 grams of actual methamphetamine. Id. at ¶ 26, ECF No. 73

 at PageID # 1050.

                Under the United States Sentencing Guidelines (“Guidelines”), and

 based on this drug quantity, Defendant received a base level offense 32 and a

 three-level downward adjustment for acceptance of responsibility, resulting in a

 total offense level of 29. Id. at PageID # 1051. With a criminal history category

 VI at the time of sentencing, id. at PageID # 1052-57, Defendant’s advisory

 Guideline range—before taking into account the mandatory minimum—was 151 to

 188 months. Id. at ¶ 73, 2 ECF No. 73 at PageID # 1060; see also Guideline

 Sentencing Table (2007). 3 But because the Government filed a special information

 pursuant to 21 U.S.C. § 851, Defendant received a mandatory life sentence. See

 ECF No. 33; ECF No. 78 at PageID # 215.

                In 2006, when Defendant was sentenced, the filing of a § 851 special

 information triggered enhanced mandatory minimum sentences under 21 U.S.C.

 § 841 based on prior “felony drug offenses,” defined as any drug offense “that is



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           The PSR at paragraph 73 mistakenly lists the range as 157 to 188 months. The correct
 range is 151 to 188 months. Guideline Sentencing Table (2007).
        3
           When Defendant was sentenced, offenses involving at least 50 grams but less than 150
 grams of actual methamphetamine resulted in a base offense level 32 under Guideline
 § 2D1.1(c)(4). Since that time, the base offense level has been reduced; if sentenced today, the
 base offense level would be 30 under Guideline § 2D1.1(c)(5). With a total offense level 27
 (base offense level 30 minus 3 for acceptance of responsibility) and criminal history category VI,
 Defendant’s current Guideline range would be 130-162 months.
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 punishable by imprisonment for more than one year under any law of the United

 States or of a State or foreign country.” 21 U.S.C. § 802(44). Based on

 Defendant’s conviction under 21 U.S.C. § 841(b)(1)(A), one prior conviction

 resulted in a mandatory minimum of 20 years, and two prior convictions resulted

 in a mandatory minimum of life. See PSR ¶¶ 71, ECF No. 73 at PageID # 1060.

               In this case, the Government’s special information relied on two prior

 convictions, both stemming from 1988 arrests, when Defendant was 22 years old.

 Id. at ¶¶ 40-41, ECF No. 73 at Page ID ## 1052-54. First, Defendant was

 convicted in Hawaii state court in 1988 for promoting a dangerous drug in the

 second degree after he sold 0.27 grams of cocaine to an undercover police officer

 for $50. Id. at ¶ 40, ECF No. 73 at Page ID # 1052. This offense is a class B

 felony, punishable by a maximum term of imprisonment of 10 years. See Hawaii

 Revised Statues (“HRS”) § 712-1242; HRS § 706-660(2)(a). Second, Defendant

 was convicted in Hawaii state court in 1989 for promoting dangerous drugs in the

 third degree—a class C felony punishable by a maximum term of imprisonment of

 five years, HRS § 712-1243; HRS § 706-660(2)(b) 4—after a probation search of

 his apartment yielded 3.09 grams of cocaine, 0.06 grams of marijuana, and two



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           Defendant was also convicted of promoting a detrimental drug in the third degree in
 violation of HRS § 712-1249 and unlawful use of drug paraphernalia in violation of HRS § 329-
 43.5(a). ECF No. 33-3 at PageID # 89. But because neither of these offenses qualified as
 “felony drug offenses,” they were not charged in the special information. See ECF No. 33 at
 PageID # 94.
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 glass pipes. PSR ¶ 41, ECF No. 73 at Page ID # 1053-54. Because both of these

 convictions qualified as “felony drug offenses,” Defendant’s mandatory minimum

 sentence was increased from ten years to life. See id. at ¶¶ 71-72, ECF No. 73 at

 PageID # 1060.

              Defendant has now spent 15 years in Bureau of Prisons (“BOP”)

 custody. During that time, he has had a mixed record. In his favor, he has taken

 multiple educational classes, worked continuously, and has reportedly completed a

 non-residential drug treatment program. ECF No. 154-3; ECF No. 154-1 at

 PageID # 915. He has worked as a unit orderly since 2016, and his most recent

 program review states that he “[m]aintains the high standards of the Unit, assists in

 tasks that he is not assigned, and maintains Good work evaluations.” ECF No.

 154-3 at PageID # 921.

              Much less favorable, Defendant has received four disciplinary actions

 over the last fifteen years. ECF No. 160-1 at PageID ## 985-86. Three of these

 offenses—receiving money from another inmate’s family, possessing intoxicants

 (which appear to be alcohol), and participating in a group demonstration—are of

 lesser concern than the fourth—possession of “card stock bindles laced [with]

 heroin” in January 2018. Id.; see generally ECF No. 175-1.

              On March 23, 2020, Defendant applied to USP Atwater’s Warden for

 compassionate release based on the First Step Act’s sentencing reforms. ECF No.


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 149-1 at PageID # 863. USP Atwater’s Warden denied Defendant’s request on

 April 23, 2020, id. at PageID # 864, and Defendant appealed (sought

 reconsideration) on June 8, 2020. ECF No. 149-2 at PageID # 865. That appeal,

 too, was denied by the Warden. Id. at PageID # 866. On January 6, 2021,

 Defendant, represented by counsel, moved for compassionate release before this

 court based both on the First Step Act change in law and health concerns related to

 COVID-19. ECF No. 154.

             The Government filed its Opposition on January 21, 2021. ECF No.

 160. Among other issues, the Government argued that Defendant failed to exhaust

 his administrative remedies because he had never sought compassionate release

 from BOP based on COVID-19 concerns. Id. at PageID ## 969-72. On January

 25, 2021, Defendant submitted a request for compassionate release on COVID-19

 grounds to the USP Atwater Warden, which was denied on February 10, 2021.

 ECF No. 173 at PageID # 1086. The parties now agree that Defendant has fully

 exhausted his administrative remedies. Id. at PageID # 1085.

             Meanwhile, Defendant filed his Reply to the Government’s

 Opposition on January 27, 2021. ECF No. 163. After applying for leave to do so,

 the Government filed a Sur-Reply on February 18, and Defendant filed a Response

 to the Sur-Reply on February 23, 2021. ECF Nos. 167 & 171. An in-court hearing




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 was held on March 8, 2021. ECF No. 174. At the court’s request, the Government

 filed a Second Supplemental Brief on March 15, 2021. ECF No. 175.

                                 III. DISCUSSION

 A.    Legal Framework

             Both the compassionate release mechanism Defendant invokes and his

 argument as to why compassionate release is warranted stem from reforms

 implemented through the First Step Act of 2018. The court sets forth the pertinent

 provisions of the Act before turning to the substance of Defendant’s arguments.

       1.    Compassionate Release

             The First Step Act substantially increased the ability of federally

 incarcerated persons to seek reduction of their sentence under the “compassionate

 release statute,” 18 U.S.C. § 3582(c)(1)(A). United States v. McCoy, 981 F.3d

 271, 275 (4th Cir. 2020). Before passage of the First Step Act, courts could only

 consider motions for compassionate release upon a motion by the BOP. Id. at 276.

 But the BOP “used that power so ‘sparingly’” that a negligible number of

 incarcerated persons were released each year. Id. Moreover, the BOP lacked

 standards and timelines for review of compassionate release motions, “causing

 delays so substantial that inmates sometimes died awaiting final BOP decisions.”

 Id. (citing United States v. Brooker, 976 F.3d 228, 231-32 (2d Cir. 2020)).




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               Through the First Step Act, Congress amended § 3582(c)(1)(A) to

 “remove the Bureau of Prisons from its former role as gatekeeper over

 compassionate release petitions.” Id. (internal quotation and citation omitted). As

 amended, § 3582(c)(1)(A) now allows defendants to file motions for

 compassionate release on their own behalf, so long as they first “exhaust[] all

 administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

 on [their] behalf or the lapse of 30 days from the receipt of such a request by the

 warden of the defendant’s facility, whichever is earlier.” Once administrative

 remedies have been exhausted, a court may grant a defendant’s motion for

 compassionate release if “after considering the factors set forth in [18 U.S.C.]

 section 3553(a) to the extent that they are applicable,” it finds that “extraordinary

 and compelling reasons warrant such a reduction” and that “such a reduction is

 consistent with applicable policy statements issued by the Sentencing

 Commission.” 18 U.S.C. § 3582(c)(1)(A).

               Thus, the court may reduce Defendant’s sentence if: (1) Defendant

 has exhausted the required administrative remedies; (2) after consideration of the

 applicable section 3553(a) factors, the court determines that Defendant has shown

 that “extraordinary and compelling reasons” warrant the reduction; and (3) the

 reduction is consistent with any applicable Sentencing Commission’s policy

 statements.


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              Although § 3582(c)(1)(A)(i) does not define “extraordinary and

 compelling reasons,” the Sentencing Commission has addressed the meaning of

 this phrase in Guideline § 1B1.13. Specifically, the commentary to the Guideline

 defines “extraordinary and compelling reasons” as “terminal illness, an elderly

 inmate’s rapidly declining health, and care for dependent family members.”

 United States v. Ledezma-Rodriguez, 472 F. Supp. 3d 498, 502-03 (S.D. Iowa

 2020) (citing Guideline § 1B1.13 cmt. n.1). The commentary also contains a

 catch-all provision that allows the BOP Director to determine whether “there exists

 in the defendant’s case an extraordinary and compelling reason other than, or in

 combination with,” the three other, specifically enumerated reasons. Guideline §

 1B1.13 cmt. n.1.

              Because the Guideline policy statement was issued before the First

 Step Act provided defendants the ability to file motions for compassionate release,

 and because the Sentencing Commission has been unable to amend the Guidelines

 post-First Step Act due to a lack of a quorum, Guideline § 1B1.13 does not address

 defendant-filed motions for compassionate release. Nevertheless, the Government

 argues that Guideline § 1B1.13 is an “applicable policy statement” binding on the

 court as written. Thus, the Government asserts, courts lack the discretion that the

 Guideline grants to the BOP Director in its “catch-all” provision to find

 extraordinary and compelling reasons other than terminal illness, age, or care for


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  dependent family members. ECF No. 175 at Page ID ## 1089-90. The court

  disagrees.

               Contrary to the Government’s position, a growing majority of courts

  have determined that the Guidelines lack any policy statement “applicable” to a

  defendant-filed motion for compassionate release. See United States v. Jones, 980

  F.3d 1098, 1108 (6th Cir. 2020) (stating that “U.S.S.G. § 1B1.13 is not an

  ‘applicable’ policy statement when an imprisoned person files a motion for

  compassionate release”); United States v. Gunn, 980 F.3d 1178, 1180 (7th Cir.

  2020) (stating that “because the Guidelines Manual lacks an applicable policy

  statement, the trailing paragraph of § 3582(c)(1)(A) does not curtail a district

  judge’s discretion”); McCoy, 981 F.3d at 281 (explaining that because “the First

  Step Act has removed the BOP, quite deliberately, from its gatekeeping role, the

  BOP’s authority to determine the existence of ‘other reasons’ under Application

  Note 1(D) is irreconcilable with the amended § 3582(c)(1)(A)” and concluding that

  when a defendant “exercises his new right to move for compassionate release on

  his own behalf” “§ 1B1.13 is not an ‘applicable’ policy statement at all”); see also

  Brooker, 976 F.3d at 237 (“[T]he First Step Act freed district courts to consider the

  full slate of extraordinary and compelling reasons that an imprisoned person might

  bring before them in motions for compassionate release.”); but see United States v.

  Arceneaux, 830 F. App’x 859 (9th Cir. Dec. 8, 2020) (mem.) (affirming district


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  court’s denial of compassionate release, apparently based in part on consideration

  of § 1B1.13(2)).

               Previously, this court agreed that it could consider the “full slate” of

  extraordinary and compelling reasons, although for slightly different reasons. That

  is, the court determined that the Guideline commentary’s fourth, catch-all

  provision empowering the BOP Director to determine whether other extraordinary

  and compelling reasons exist applies equally to the court when ruling on motions

  for compassionate release. See United States v. Hernandez, 2020 WL 3453839, at

  *4 (D. Haw. June 24, 2020). Regardless of the ultimate reasoning applied, the

  court determines that it is not bound by Guideline § 1B1.13’s restrictions, but

  instead may make its own independent determination whether extraordinary and

  compelling reasons warrant a sentence reduction.

        2.     Mandatory Minimums

               The First Step Act also made “[m]onumental . . . changes to

  sentencing calculations.” Brooker, 976 F.3d at 230. As relevant here, the First

  Step Act limited mandatory minimum enhancements based on prior drug

  convictions along two axes—the length of the mandatory minimums imposed and

 the range of offenses that trigger mandatory minimums in the first instance. For




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  convictions under 21 U.S.C. § 841(b)(1)(A), 5 the enhanced mandatory minimum

 based on one prior conviction was reduced from 20 years to 15 years, and the

 enhanced mandatory minimum based on two or more prior convictions was

 reduced from life to 25 years. In addition, the Act significantly limited the type

  and seriousness of prior drug convictions that trigger mandatory minimums. Prior

  to the First Step Act, enhanced mandatory minimums could be triggered if a

  defendant had been convicted of any drug offense under federal, state, or foreign

  law punishable by more than one year. 21 U.S.C. § 802(44). After the First Step

  Act, however, a defendant must have previously been convicted of one or more

  “serious drug felon[ies],” as that term is defined in 21 U.S.C. § 802(57) and 18

  U.S.C. § 924(e)(2), in order to be subjected to an enhanced mandatory minimum

  sentence. 21 U.S.C. § 841(b)(1)(A).

                Serious drug felonies are limited to (1) violations of specific federal

  statutes; 6 and (2) violations of state law involving manufacturing, distributing, or

  possessing with intent to manufacture or distribute, a controlled substance. 21

  U.S.C. § 802(57); 18 U.S.C. § 924(e)(2). In both cases, to constitute a “serious

  drug felony” the offense must be punishable by “a maximum term of imprisonment


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            Because Defendant was convicted under 21 U.S.C. § 841(b)(1)(A), the court references
  the pre- and post-First Step Act law relating to that statute only.
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             The Controlled Substances Act (21 U.S.C. § 801 et seq.), the Controlled Substances
  Import and Export Act (21 U.S.C. § 951 et seq.), or Maritime Drug Law Enforcement (chapter
  705 of title 46). See 18 U.S.C. § 924(e)(2).
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  of ten years or more [as] prescribed by law.” See 18 U.S.C. § 924(e)(2). In

  addition, the defendant must have served a term of imprisonment of more than one

  year and must have been released “from any term of imprisonment . . . within 15

  years of the commencement of the instant offense.” See 21 U.S.C. § 802(57); see

  also United States v. Brown, 2020 WL 7401617, at *5 (E.D. Wis. Dec. 17, 2020)

  (summarizing First Step Act changes).

 B.     Analysis

               The court may grant Defendant’s Motion for Compassionate Release

 if (1) Defendant has exhausted his administrative remedies; (2) extraordinary and

 compelling circumstances warrant release; and (3) release is consistent with any

 applicable Section 3355(a) factors. The parties do not dispute that Defendant has

 fully exhausted his administrative remedies. ECF No. 173 at PageID # 1085. The

 court thus considers only whether Defendant has demonstrated extraordinary and

 compelling reasons and whether his release would be consistent with applicable

 Section 3355(a) factors.

        1.     Extraordinary and Compelling Reasons

               Defendant bears the burden to establish extraordinary and compelling

  reasons that justify compassionate release. See, e.g., United States v. Bogema,

  2020 WL 6150467, at *3 (D. Haw. Oct. 20, 2020) (citations omitted). Defendant

  argues that compassionate release is appropriate because (1) his life sentence is

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  grossly disproportionate to what Congress now considers fair for his conviction

  and prior criminal history in light of First Step Act reforms; and (2) his age,

  obesity, and possible hypertension place him at a high risk of severe complications,

  hospitalization, or death should he contract COVID-19 while incarcerated. ECF

  No. 154-1 at PageID ## 895-904.

               Turning to the first argument, if sentenced today, Defendant would

  not be sentenced to mandatory life in prison. In 2006, Defendant was given a

  mandatory minimum sentence of life in prison based on two prior convictions for

  relatively minor drug crimes that were approximately 18 years old at the time.

  Defendant was first convicted in 1988 under Hawaii state law for promoting a

  dangerous drug in the second degree for selling 0.27 grams of cocaine to an

  undercover police officer for $50. PSR ¶ 40, ECF No. 73 at PageID # 1052. As

  Defendant and the United States agree, this offense qualifies as a “serious drug

  felony” under the First Step Act. See HRS § 712-1242; HRS § 706-660(2)(a); see

  also ECF No. 154-1 at PageID # 902. Defendant was next convicted in 1989 on

  three counts—promoting a dangerous drug in the third degree, promoting a

  detrimental drug in the third degree, and unlawful use of drug paraphernalia. PSR

  ¶ 41, ECF No. 73 at Page ID # 1053. These convictions were based on possession

  of 3.09 grams of cocaine, 0.06 grams of marijuana, and two glass pipes. Id. at

  PageID # 1054. None of these offenses qualifies as a “serious drug felony”; they


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  do not involve manufacturing, distributing, or intending to manufacture or

  distribute a controlled substance. Moreover, promoting a dangerous drug in the

  third degree is punishable by a term of imprisonment of not more than five years,

  and the other two offenses are only punishable by a fine. See HRS § 712-1243;

  HRS § 712-1249; HRS § 329-43.5; HRS § 706-660.

                  Thus, had Defendant been sentenced today, both “axes” of First Step

 Act reforms would have lowered his sentence. Only one of his prior convictions,

 not two, would have triggered an enhanced mandatory minimum. And the

 mandatory minimum based on one prior offense is now 15 rather than 20 years. 21

 U.S.C. § 841(b)(l)(A). Because Defendant’s guideline range was 151 to 188

 months, 7 if sentenced today, this court would almost certainly not sentence

  Defendant in excess of a 15-year mandatory minimum given the quantity of drugs

  involved in the instant offense 8 and the small amount of drugs involved in his 1988

  conviction. Stated differently, considering all the applicable § 3553(a) factors,

  Defendant would not be sentenced in excess of the 15-year mandatory sentence.

  And as of March 2021, Defendant has served a full 15-year sentence.



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             Again, if sentenced today, Defendant’s Guideline range would be 130 to 162 months.
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            Given the court’s familiarity with the type of methamphetamine offenses prosecuted in
  the District of Hawaii, and given that Defendant’s convictions involved just over 100 grams of
  actual methamphetamine, the court would classify Defendant (as of 2006) as a low to mid-level
  distributor of methamphetamine.


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                District courts are split on the question of whether drastic sentencing

  disparities created by the First Step Act’s reforms can constitute extraordinary and

 compelling reasons for the purpose of compassionate release. 9 Several district

  courts have held that sentencing disparities cannot provide any basis for

  compassionate release because “the [sentencing reform] amendment is expressly

  not retroactive.” United States v. Andrews, 480 F. Supp. 3d 669, 680 (E.D. Pa.

  2020). Thus, “[g]ranting a motion for compassionate release on the basis of the

  amendment to [§ 841] would supplant the retroactivity determination of courts—

  that the amendment should be applied retroactively on a case-by-case basis—for

 the retroactivity determination of Congress—that the amendment should not be

 applied retroactively.” Id. This outcome is impermissible, these courts hold,

 because “[w]hen Congress speaks on the retroactivity of the statute, its judgment is

 final.” Id.; see also, e.g., United States v. Jackson, 2020 WL 2812764, at *5 (D.

 Kan. May 29, 2020), reconsidered on other grounds, 2020 WL 4284312 (D. Kan.

 July 27, 2020) (holding courts cannot consider sentencing disparities on a motion

  for compassionate release because doing so would “effectively [provide the First

  Step Act] retroactive effect on a case-by-case basis.”); United States v. Goetz, 2020


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            Courts have analyzed this question with respect to First Step Act amendments to
  enhanced mandatory minimums under both 21 U.S.C. § 851 and 18 U.S.C. § 924(c). The
  analysis is the same as to each amendment and the court does not distinguish between the two in
  its discussion of the case law. See United States v. Williams, 2020 WL 5834673, at *7 (W.D.
  Va. Sept. 30, 2020) (explaining that the “same [analysis] applies” to First Step Act amendments
  to § 851 and § 924(c) when considering a motion for compassionate release).
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  WL 5423920, at *4 (S.D. Ind. Sept. 10, 2020) (denying compassionate release on

  the basis that defendants “may not use 18 U.S.C. § 3582(c)(1)(A)(i)’s

  ‘extraordinary and compelling’ provision as an end-around to achieve a result that

  Congress did not intend.”); United States v. Pitts, 2020 WL 1676365, at *7 (W.D.

  Va. Apr. 6, 2020) (holding that granting compassionate release on the basis of a

  First Step Act sentencing disparity would constitute an “end-around solution that

  ignores the statutory limitations Congress imposed on the [First Step Act]

  amendment”). 10

                 But the only circuit court to consider the issue, as well as a growing

  majority of district courts, disagree. While accepting the general premise that the

  First Step Act’s expressly non-retroactive change in the law—standing alone—

 cannot justify compassionate release, these courts conclude that, on an

 individualized basis, “the severity of a [pre-First Step Act] sentence, combined

 with the enormous disparity between that sentence and the sentence a defendant

 would receive today, can constitute an ‘extraordinary and compelling’ reason for

 relief under § 3582(c)(1)(A).” McCoy, 981 F.3d at 285 (emphasis added); see also,



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             In its Opposition Brief, the Government argues that “whether the defendant’s sentence
  would have been lower under the First Step Act . . . is irrelevant to this motion: Congress did not
  make these provisions of the First Step Act that the defendant references retroactive.” ECF No.
  160 at PageID # 976. In its Second Supplemental Brief, the Government clarified its position:
  “If the defendant can establish a physical or mental condition that qualifies as an extraordinary
  and compelling reason for release, the Court may consider other factors . . . including a non-
  retroactive change in law.” ECF No. 175 at Page ID # 1091.
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  e.g., United States v. Haynes, 2021 WL 406595, at *5 (C.D. Ill. Feb. 5, 2021)

 (“[C]ourts may consider individual defendants’ circumstances and weigh whether a

 particular sentencing disparity is truly ‘extraordinary and compelling’ on a case-

  by-case basis.”); Brown, 2020 WL 7401617, at *5 (“While Congress did not make

  this portion of the First Step Act retroactive across the board, courts may consider

  such legislative changes in ‘conducting their individualized reviews of motions for

  compassionate release under § 3582(c)(1)(A)(i).’”) (collecting cases) (quoting

  McCoy, 981 F.3d at 286); Ledezma-Rodriguez, 472 F. Supp. 3d at 504 (“Several

  courts, including this one, have concluded that drastic sentencing disparities

  created by sentencing law reforms can be an extraordinary and compelling reason

  supporting release.”) (collecting cases); see also Williams, 2020 WL 5834673, at

  *7; United States v. Cisneros, 2020 WL 3065103, at *3 (D. Haw. June 9, 2020).

               The court agrees with this interpretation. As the Fourth Circuit set

  forth in McCoy:

               The fact that Congress chose not to make [the sentencing
               reforms of] the First Step Act categorically retroactive
               does not mean that courts may not consider that
               legislative change in conducting their individualized
               reviews of motions for compassionate release under
               § 3582(c)(1)(A)(i). As multiple district courts have
               explained, there is a significant difference between
               automatic vacatur and resentencing of an entire class of
               sentences – with its ‘avalanche of applications and
               inevitable resentencings’ . . .– and allowing for the
               provision of individual relief in the most grievous
               cases. . . . Indeed, the very purpose of § 3582(c)(1)(A) is
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               to provide a ‘safety valve’ that allows for sentence
               reductions when there is not a specific statute that already
               affords relief but ‘extraordinary and compelling reasons’
               nevertheless justify a reduction . . . . [W]e see nothing
               inconsistent about Congress’s paired First Step Act
               judgments: that ‘not all defendants convicted under [the
               prior sentencing scheme] should receive new sentences,’
               but that the courts should be empowered to ‘relieve some
               defendants of those sentences on a case-by-case basis.’

  981 F.3d at 286-87 (“individualized reviews” emphasis added) (quoting United

  States v. Haynes, 456 F. Supp. 3d 496, 516 (E.D.N.Y. 2020); United States v.

  Jones, 482 F. Supp. 3d 969 (N.D. Cal. 2020)). Moreover:

               In declining to give [the First Step Act’s sentencing
               reforms] retroactive effect, Congress did not express a
               broad intent to foreclose other avenues of relief to the
               class of defendants sentenced under the pre-First Step
               Act [§ 841]. Nor did it instruct courts to refrain from
               exercising their authority under § 3582(C)(1)(A) if, in so
               doing, they might coincidentally produce a result
               consistent with the retroactive application of [the First
               Step Act’s sentencing reforms]. [Rather,] when Congress
               passed the original compassionate release statute in 1984,
               it provided that courts may consider whether a defendant
               is serving ‘an unusually long sentence’ when ruling on a
               motion for a sentence reduction.

  United States v. Ezell, 2021 WL 510293, at *5 (E.D. Pa. 2021) (citing Brooker,

  976 F.3d at 238 (quoting S. Rep. No. 98-225, at 55-56 (1984)) (identifying

  “unusual cases” in which a sentence reduction is justified, including, “cases in

  which other extraordinary and compelling circumstances justify a reduction of an

  unusually long sentence.”)). Thus, “it is not unreasonable for Congress to


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  conclude that not all defendants convicted [pre-First Step Act] should receive new

  sentences, even while expanding the power of the courts to relieve some

  defendants of those sentences on a case-by-case basis through compassionate

  release.” Id. (internal quotation and citation omitted).

               Put another way, when undertaking an “individualized assessment” as

  to a defendant’s circumstances, courts may properly consider both the “sheer and

  unusual length” of a sentence given under the former sentencing regime and the

  “gross disparity” between that sentence and the sentence “Congress now believes

  to be an appropriate penalty for the defendants’ conduct.” McCoy, 981 F.3d at

  285; see also United States v. Urkevich, 2019 WL 6037391, at *4 (D. Neb. Nov.

  14, 2019) (“A reduction in [defendant’s] sentence [may be] warranted by . . . the

  injustice of facing a term of incarceration forty years longer than Congress now

  deems warranted for the crimes committed.”); Williams, 2020 WL 5834673, at *8

  (“Both the striking disparity between the short duration of [Defendant’s] prior state

  court sentences and his federal mandatory life sentence and subsequent recognition

  by Congress that a mandatory life sentence is not warranted under these

  circumstances establish extraordinary and compelling reasons to vacate [his] life

  sentence.”). Along with considering the sentencing disparity in an individual

  defendant’s case, courts undertake “full consideration of the defendant’s individual

  circumstances,” including the length of the sentence the defendant had served at


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  the time of their motion, as well as their institutional records and any steps taken

  toward rehabilitation. McCoy, 981 F.3d at 286; see also Ezell, 2021 WL 510293,

  at *4 (“Having concluded that [defendant’s] sentence was indeed harsh, the Court

  thus examines whether, in combination with other factors related to [defendant’s]

  rehabilitation, the nature of [defendant’s] sentence constitutes an ‘extraordinary

  and compelling’ reason meriting a sentence reduction under § 3582(c)(1)(A)(i).”)

               Here, Defendant was convicted of distributing and possessing with

  intent to distribute approximately 100 grams of methamphetamine. At most, this

  offense suggests that Defendant was a low- to mid-level distributor of

  methamphetamine. For this conviction alone, Defendant would have faced a

  mandatory minimum of 10 years imprisonment and a Guideline range of 157 to

  188 months (130 to 162 months if sentenced today). Instead, he was sentenced to

  life in prison under the pre-First Step Act sentencing scheme based on two prior

  state court convictions for relatively minor drug offenses (selling 0.27 grams of

  cocaine for $50 and possessing 3.09 grams of cocaine, 0.06 grams of marijuana,

  and two glass pipes).

               The disparity between a 15-year sentence and a lifetime in prison is

  clear. But it is particularly striking when considering that Defendant was not a

  large-scale methamphetamine trafficker and his prior convictions were of a minor

  nature (that is, selling a very small quantity of methamphetamine in one, and the


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  simple possession of a user quantity in another). Stated differently, the sentence

  enhancement triggered by Defendant’s prior convictions for minor drug crimes

  was “enormous,” creating an equally “enormous disparity” between his sentence

  and the sentence “Congress now believes to be an appropriate penalty for [his]

  conduct.” McCoy, 981 F.3d at 285. This gaping disparity provides a “strong

  indication that his circumstances are ‘extraordinary and compelling.’” Ezell, 2021

  WL 510293, at *6; see also, e.g., United States v. Day, 474 F. Supp. 3d 790, 804

  (E.D. Va. 2020) (granting relief where mandatory sentence would now be 15 years

  rather than life); Ledezma-Rodriguez, 472 F. Supp. 3d at 504-05 (granting relief

  where mandatory sentence would be 10 years rather than life).

               Defendant’s case stands in contrast to a situation where a defendant’s

  offense conduct was more serious—perhaps warranting a Guideline range

  approaching a life sentence; or a situation in which the First Step Act sentencing

  disparity was much lower—perhaps a change from 20 to 15 years. Here, the

  severity of a life sentence, the enormous disparity between the sentence Defendant

  received and the one he would receive today, and the fact that Defendant was a low

  to mid-level distributor of methamphetamine makes this a “grievous cases” for

  which “individual relief” is appropriate under the compassionate release statute,

  § 3582(c)(1)(A). McCoy, 981 F.3d at 285. Of course, “holding a severe

  sentencing disparity can constitute an ‘extraordinary and compelling’ reason is not


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  the same as holding it will.” Haynes, 2021 WL 406595, at *6-7. Each case must

 be based on the individual circumstances of a defendant, and not all sentencing

 disparities will meet the high bar of extraordinary and compelling reasons that

 warrant a sentence reduction. See id. (“[R]elief in this context is available only in

 the most extreme of cases; there will be times when disparities that could be

 described as ‘unfair’ will nevertheless fail to rise to the level of ‘extraordinary and

 compelling.’”).

               Defendant’s other “individualized circumstances” further support a

  finding that compassionate release is appropriate. First, Defendant has already

  served 15 years in prison—the full term of the mandatory minimum applicable

  today. This suggests that Defendant has already served a fair sentence and that the

  goals of incarceration have been achieved. See, e.g., Ledezma-Rodrigues, 472 F.

  Supp. 3d at 504-05 (noting that the defendant was only serving a life sentence

  because the government “chose to flag two prior drug convictions under § 851,”

  that “most people guilty of similar crimes do not face life in prison,” and that the

  20 years defendant had served to date was more than an adequate punishment);

  United States v. McPherson, 454 F. Supp. 3d 1049, 1053 (W.D. Wash. 2020)

  (granting a sentence reduction to a defendant “sentenced to over 32 years in

  prison,” which is “15 years beyond what is now deemed a fair penalty by our

  law”); Haynes, 2021 WL 406595, at *6-7 (reducing defendant’s 105-year sentence


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  based on “massive disparity” created by First Step Act amendments, in part

  because “the national average sentence for murder . . . [is] approximately 21 years”

  and “[w]hile Defendant’s multiple armed robbery crimes were undeniably serious,

  the Court doubts any reasonable person would suggest they are deserving of a

 sentence 5 times the length of the average sentence for murder. Defendant’s case

 is one illustrating how severe sentencing mandates can create outcomes wholly

 divorced from our notions of justice”).

              Moreover, Defendant was relatively young when convicted of his

 underlying drug offenses—in his early 20’s—and he has no convictions for crimes

 of violence. See, e.g., McCoy, 981 F.3d at 286 (finding the defendants’ relative

 youth—from 19 to 24 years old—at the time of their offenses militated in favor of

 granting compassionate release); Williams, 2020 WL 5834673, at *9 (same);

 United States v. Redd, 444 F. Supp. 3d 717, 728 (E.D. Va. 2020) (finding that

 defendant’s “relatively minor, non-violent” criminal history supported

 compassionate release); United States v. Blanco, 2020 WL 7350414, at *6 (N.D.

 Cal. Dec. 14, 2020) (finding compassionate release was warranted despite

 defendant’s serious but non-violent criminal history based on his disproportionate

 sentence and evidence of rehabilitation while incarcerated).

              The court recognizes Defendant’s record while in BOP custody is

 mixed. While incarcerated, he has taken multiple educational classes, worked


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  continually, and completed a non-residential drug treatment, suggesting a

  commitment to rehabilitation. ECF No. 154-3; ECF No. 154-1 at PageID # 915;

  see, e.g., United States v. Barron, 2020 WL 4196194, at *2 (C.D. Cal. July 9,

  2020) (holding that a defendant’s evident rehabilitation supported granting

  compassionate release where defendant had only three non-violent disciplinary

  actions in 19 years of custody and had taken multiple classes); Ezell, 2021 WL

  510293, at *6 (concluding that by “continually work[ing] to better himself while in

  prison” “rather than dwelling on his life sentence,” the defendant demonstrated a

  commitment to rehabilitation that weighed heavily in favor of granting

  compassionate release).

              But Defendant has also had four disciplinary actions while in BOP

  custody. Of greatest concern, Defendant was sanctioned for the possession of a

  heroin in 2018. See generally ECF No. 175-1. Although the court certainly

  understands the seriousness of drug offenses in a prison setting, Defendant’s

  conduct while incarcerated does not counterbalance the “extraordinary and

  compelling” nature of Defendant’s grossly disproportionate sentence. See Haynes,

  2021 WL 406595, at *7 (finding that although “Defendant’s crimes were

  inarguably serious and deserving of harsh punishment, and his record in prison is

  less than exemplary” compassionate release was still warranted based on his

  grossly disproportionate life sentence); Ledezma-Rodriguez, 472 F. Supp. 3d at 506


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  (“[R]ightly or wrongly, this country's criminal justice system is premised on the

  idea that a person can—and hopefully will—change after several years locked in

  prison.”); see also Musa v. United States, 2020 WL 6873506, at *7 (S.D.N.Y. Nov.

  23, 2020) (finding that sentencing disparity alone could not justify compassionate

  release where defendant had “not demonstrated a prolonged track record of

  rehabilitation” and had “more than 60 disciplinary infractions while in BOP

  custody, including one for ‘threatening bodily harm.’”). Further, while on

  supervised release the Defendant will undergo frequent drug testing and treatment.

  And should Defendant use any illegal narcotics, his supervision can be revoked.

                Finally, Defendant is 55 years old, is obese to morbidly obese (BMI of

  38 to 40), and possibly has hypertension. ECF No. 158 at PageID # 928, 934; PSR

  ¶ 58, ECF No. 73 at PageID # 1058; ECF No. 154-1 at PageID ## 895-96. These

  conditions place him at an increased risk should he contract COVID-19. See

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

  medical-conditions.html (last visited March 23, 2021). On the other hand, the

  BOP has begun the process to vaccinate staff and inmates at USP Atwater. 11 See

  https://www.bop.gov/coronavirus/index.jsp (last visited March 23, 2021).



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             The court is aware that Defendant was offered and initially refused to take the
  COVID-19 vaccine. ECF No. 167 at PageID # 1025. After speaking with his lawyer, Defendant
  has indicated he will take it if offered again. ECF No. 171-1 at PageID # 1042. The court leaves
  for another day the implication of a refusal to be vaccinated on a request for compassionate
  release.
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  Defendant’s COVID risk factors, standing alone, would not justify compassionate

  release. By contrast, his grossly disproportionate sentence is enough to

  independently justify compassionate release. Nevertheless, that Defendant’s

  request comes during an unprecedented global pandemic and that Defendant has

  elevated vulnerabilities to COVID-19 only adds weight to the court’s conclusion

  that compassionate release is justified because of the enormous disparity between

  the life sentence Defendant received and the 15-year sentence he would have

  received today.

                 In short, Defendant has demonstrated that extraordinary and

  compelling reasons justify his early release from incarceration.

         2.      Section 3355(a) Factors

                 As relevant to this case, the § 3553(a) factors include: (1) the nature

  and circumstances of the offense and the history and characteristics of the

  defendant; 12 and (2) the need for the sentence imposed: (a) to reflect the

  seriousness of the offense, to promote respect for the law, and to provide just

  punishment for the offense; (b) to afford adequate deterrence to criminal conduct;

  (c) to protect the public from further crimes of the defendant; and (d) to provide the

  defendant with needed educational or vocational training, medical care, or other


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            As part of the § 3553(a) analysis, the court considers Defendant’s post-offense
  conduct, including his rehabilitation while in custody. See Pepper v. United States, 562 U.S.
  476, 491 (2011).
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  correctional treatment in the most effective manner. 18 U.S.C. §§ 3553(a)(1)-(2).

  And under the parsimony clause, the court must “impose a sentence sufficient, but

  not greater than necessary, to comply with the purposes set forth” in § 3553(a)(2).

               These factors have been discussed thoroughly above in considering

  whether Defendant’s sentencing disparity warrants compassionate release. The

  court will not rehash the details here. But, in short, Defendant was convicted of

  possessing and distributing approximately 100 grams of actual methamphetamine

  and has a criminal history of only minor offenses, none of them violent. He has

  had infractions—one very serious—while in custody. But he has also taken steps

  toward rehabilitation despite his life sentence, including taking classes,

  maintaining continued employment, and seeking drug treatment. In addition,

  Defendant has put forth an appropriate release plan—to live with his sister, who

  will help him to secure employment. ECF No. 154-1 at PageID # 917. Finally, for

  all the reasons discussed above, the 15 years Defendant has served to date is

  sufficient to achieve the goals of sentencing under § 3553(a)(2).

                                  IV. CONCLUSION

               For the foregoing reasons, Defendant’s Motion for Sentence

 Reduction under 18 U.S.C. § 3582(c)(1)(A) (Compassionate Release), ECF No.

 154, is GRANTED. It is further ordered that:




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                1. Defendant’s sentence of incarceration is reduced to time served

                plus 14 days. To minimize COVID-19 risks, the court requests that

                the BOP place Defendant in quarantine during his final 14 days in

                custody.

                2. Upon release from custody, Defendant shall commence serving his

                ten-year term of supervised release as previously imposed; and shall

                abide by all mandatory, standard, and special conditions as approved

                and ordered by the Court on March 23, 2021, ECF No. 176.



                IT IS SO ORDERED.

                DATED: Honolulu, Hawaii, March 23, 2021


                                                            /s/ J. Michael Seabright
                                                           J. Michael Seabright
                                                           Chief United States District Judge




  United States v. Lii, Cr. No. 06-00143 JMS (01), Order Granting Defendant’s Motion for
  Compassionate Release, ECF No. 154

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